  Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 1 of 16 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


KE’ANDRA S. FLEMMINGS,                          JURY TRIAL DEMANDED
an individual,


              Plaintiff,
                                                CASE NO.
vs.

GREENWAY AUTOMOTIVE, INC., a
Florida for Profit Corporation,

            Defendant.
_________________________________

                      COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, KE’ANDRA S. FLEMMINGS (“Plaintiff” or “Flemmings”), through

 undersigned counsel,      files this Complaint and Demand for Jury Trial against Defendant,

 GREENWAY AUTOMOTIVE, INC., a Florida for profit Corporation (“Defendant” or

 “Greenway”), and states as follows:

                                  NATURE OF THE ACTION
        1.     Title VII of the Civil Rights of 1964 (“Title VII”) forbids a covered employer to

 “discriminate against any individual with respect to... terms, conditions, or privileges of

 employment, because of such individual's race, color... sex...” 42 U.S.C. § 2000e-2(a)(1). The

 Pregnancy Discrimination Act of 1978 (the “PDA”), amended Title VII to specifically prohibit

 sex discrimination on the basis of pregnancy. The definition of “because of sex” or “on the basis

 of sex” was amended to state: (1) because of or on the basis of pregnancy, childbirth, or related

 medical conditions; and (2) women affected by pregnancy, childbirth, or related medical

 conditions “shall be treated the same for all employment-related purposes. . . as other persons
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 2 of 16 PageID 2



not so affected but similar in their ability or inability to work. . . .” 42 U.S.C. 2000e(k)(defining

“because of sex” or “on account of sex”). As such, it is unlawful to discriminate against an

employee because of or on the basis of her race, color, pregnancy or pregnancy related medical

condition, as well as to deny her reasonable accommodations related to her pregnancy related

medical conditions. See generally, Young v. United Parcel Serv., Inc., 135 S. Ct. 1338, 191 L.

Ed.2d 279 (2015) (establishing framework from which to determine pregnancy related failure to

accommodate claims).

       2.      Additionally, as noted by the Supreme Court in Young:

               “[s]tatutory changes made after the time of Young's pregnancy
               may limit the future significance of our interpretation of the Act. In
               2008, Congress expanded the definition of ‘disability’ under the
               ADA to make clear that ‘physical or mental impairment[s] that
               substantially limi[t]’ an individual's ability to lift, stand, or bend
               are ADA-covered disabilities. ADA Amendments Act of 2008,
               122 Stat. 3555, codified at 42 U.S.C. §§ 12102(1)-(2). As
               interpreted by the EEOC, the new statutory definition requires
               employers to accommodate employees whose temporary lifting
               restrictions originate off the job. See 29 CFR pt. 1630, App., §
               1630.2(j)(1)(ix). We express no view on these statutory and
               regulatory changes.

       135 S. Ct. at 1348.
       3.      During Ms. Flemmings’ employment with Defendant, she became pregnant. Ms.

Flemmings also suffered from a pregnancy related medical condition that would also qualify as a

pregnancy related disability under the ADA and PDA. Ms. Flemmings requested two reasonable

accommodations, including the use of a parking space closer to the entrance of the building and a

temporary schedule change to a later start time, due to Ms. Flemmings’ morning sickness. Ms.

Flemmings provided a doctor’s note in connection with her requested accommodations, yet both

of her requests were denied.        Ms. Flemmings’ supervisors discriminated, harassed and

terminated Ms. Flemmings because of her race, color, pregnancy and/or pregnancy related


                                                 2
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 3 of 16 PageID 3



medical condition, and she was further discriminated against and retaliated against for having

requested a reasonable accommodation related to her pregnancy related medical condition. On

August 14, 2015, Ms. Flemmings was wrongfully terminated in violation of Title VII and the

ADA.

        4.      Ms. Flemmings seeks: (i) back pay and front pay (where reinstatement is not

feasible); (ii) compensatory damages in whatever amount she is found to be entitled; (iii) an

award of interest, costs and reasonable attorney’s fees and expert witness fees; (iv) punitive

damages; (v) equitable relief; (vi) declaratory relief; (vii) pre-judgment and post-judgment

interest (where allowable); and (viii) a jury trial on all issues so triable.

                                    JURISDICTION & VENUE
        5.      The Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and 1337, Title

VII of the Civil Rights Act of 1964, Title I of the Civil Rights Act of 1991, and Title I of the

Americans with Disabilities Act, as amended (“ADA”). See 42 U.S.C. § 2000e et. seq.; 42

U.S.C. § 12101 et.seq.; and 42 U.S.C. § 1981a.

        6.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events giving rise to Plaintiff’s claims occurred in Orange County, Florida,

which is located within the Orlando Division of the Middle District of Florida.

                      SATISFACTION OF CONDITIONS PRECEDENT
        7.      Plaintiff has exhausted her administrative remedies by filing a charge of

discrimination and retaliation with the Equal Employment Opportunity Commission.

        8.      The EEOC issued plaintiff a Dismissal and Notice of Right to Sue against

Defendant with regard to this matter. A copy of the Right to Sue letter is attached as Exhibit A.

        9.      Plaintiff files her complaint within the applicable statute of limitations.

        10.     All conditions precedent to this action have been satisfied and/or waived.

                                                    3
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 4 of 16 PageID 4



                                             PARTIES
       11.    At all times material hereto, Plaintiff was a resident of Orange County, Florida.

       12.    At all times material to this action, GREENWAY, was, and continues to be, a

Florida for profit corporation engaged in business in Florida, doing business in Orange County,

Florida, and has continuously had at least 15 employees. Defendant can be served with process

upon its registered agent Corporation Company of Orlando, at 300 South Orange Avenue, Suite

1600, Orlando, FL 32801.

       13.    At all times material to this action Greenway was an automobile dealership group

with its headquarters located at 9001 East Colonial Drive, Orlando, Florida 32817.

       14.    Plaintiff is a black female.

       15.    At all times material to this action, Plaintiff was pregnant and suffered from a

pregnancy related medical condition.

       16.    Plaintiff is a member of a protected class under Title VII of the Civil Rights Act

of 1964, by virtue of her sex, gender, race, color, pregnancy and pregnancy related medical

condition.

       17.    At all relevant times, Greenway has continuously been an employer engaged in an

industry affecting commerce within the meaning of Section 701(b), (g) and (h) of Title VII, 42

U.S.C. §§ 2000e(b), (g), and (h), as well as within the meaning of the ADA, 42 U.S.C. §

12111(5).

       18.    At all times material hereto, Greenway was Plaintiff’s employer within the

meaning of Title VII and the ADA.

       19.    At all times material hereto, Plaintiff was an individual, and an employee of

Greenway within the meaning of Title VII.



                                                4
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 5 of 16 PageID 5



       20.     At all times material hereto, Plaintiff had a disability as defined by 42 U.S.C. §§

12102(1) and (2) related to her pregnancy, and/or was regarded as having a disability under

12102(3). Specifically, Plaintiff suffered from pregnancy related edema of her legs and morning

sickness, which causes nausea and vomiting; despite its name, morning sickness can strike at any

time of the day or night. Morning sickness usually occurs during the first trimester, but some

women suffer from morning sickness throughout their pregnancy.                 Plaintiff made these

conditions known to Defendant and requested an accommodation to be able to park closer to the

building she worked in and a temporary adjustment to the start of her shift.

       21.     At all times material hereto, Plaintiff is a “qualified individual” under the ADA

since she can perform the primary duties of her job with or without an accommodation. See 42

U.S.C. § 12111(8).

       22.     Plaintiff is protected by the provisions of the ADA and Title VII.

                                 GENERAL ALLEGATIONS
       23.     At all times relevant to this action, Greenway failed to comply with 42 U.S.C.

2000e, et. seq., because they intentionally discriminated against Plaintiff based upon her sex,

gender, race and color by terminating her after learning of her pregnancy and after requesting an

accommodation on account of her pregnancy related medical condition.

       24.     At all times relevant to this action, Greenway failed to comply with 42 U.S.C. §

12101 et. seq., because Plaintiff disclosed the nature and extent of her pregnancy related

disabilities, and as a result, Greenway discriminated and retaliated against Plaintiff because of

her real or perceived disabilities by terminating her while she was pregnant and after she had

requested a reasonably necessary medical accommodation.




                                                5
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 6 of 16 PageID 6



       25.     In January 2012, Ms. Flemmings, was hired to work as a call agent in Greenway’s

Business Development Center (“BDC”). Ms. Flemmings’ position required her to take incoming

customer calls relating to the service department and schedule appointments when appropriate.

       26.     In mid April 2015 the Plaintiff informed her supervisor Daniel Colon that she was

pregnant and experiencing pregnancy related morning sickness.

       27.     In June 2015 Mr. Colon left the company and was replaced by assistant manager

Michelle Zuzow.

       28.     Ms. Zuzow began harassing and discriminating against Ms. Flemmings. Ms.

Zuzow would closely scrutinize and criticize most of Plaintiff’s calls. Ms. Zuzow prohibited

Plaintiff from taking calls from seven (7) dealerships, which resulted in a significant reduction in

her income.

       29.     In early July 2015 the Plaintiff sent an email to Ms. Zuzow requesting a medically

necessary accommodation, a parking space closer to the entrance of the building.

       30.     Ms. Zuzow denied the request for a pregnancy related accommodation.

       31.     Approximately one month later Ms. Zuzow gave the parking space to her friend

and former roommate Shane Moroski (white male).

       32.     In July 2015, the Plaintiff, still suffering from morning sickness, requested a

reasonable accommodation, which was a temporary change in the start time of her shift.

       33.     Plaintiff’s request was denied despite providing the Defendant with notes from

her Doctor’s office.

       34.     Paula Hornberger, the office administrator was consistently giving Plaintiff .5

tardiness points each time Plaintiff was late, despite Plaintiff’s request for a shift change and

providing the Defendant with notes from her doctor’s office.



                                                 6
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 7 of 16 PageID 7



        35.     After disclosing her pregnancy and requesting an accommodation for her

pregnancy related medical condition, Ms. Flemmings was subjected to additional scrutiny that

other non-pregnant and non-black employees did not receive.

        36.     There was a campaign of harassment and discrimination whereby the Defendant

pulled calls of Ms. Flemmings and then subjected Ms. Flemmings to employee write-ups for

perceived infractions while other members of the call center (who were not black or pregnant)

who engaged in the same or similar behavior did not receive similar write-ups or treatment.

        37.     On August 10, 2015, Olga Rivera was hired as the new manager and on August

14, 2015 the Plaintiff’s employment was terminated.

        38.     The stated reasons for her terminations were pre-textual and created, post-hoc,

after Ms. Flemmings disclosed her pregnancy and pregnancy related medical conditions and in

retaliation for her having requested reasonable accommodations.

        39.     Ms. Flemmings was, at all times material hereto, qualified for her position, and

other available positions with or without a reasonable accommodation.

        40.     Defendant discriminated against Ms. Flemmings because of her pregnancy, her

pregnancy related medical condition and disability and her race and color and further retaliated

against Ms. Flemmings because she sought a reasonable accommodation related to her disability.


                                     COUNT I
                     DISCRIMINATION IN VIOLATION OF TITLE VII
                                  (PREGNANCY)

        41.     Plaintiff re-alleges and readopts the allegations contained in paragraphs 1-40 as if

fully set forth herein.

        42.     Defendant discriminated against Plaintiff on the basis of her sex and her

pregnancy and pregnancy related medical condition.


                                                 7
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 8 of 16 PageID 8



        43.     The acts of Defendant, by and through its agents and employees, violated

Plaintiff’s rights to be free from discrimination because of her sex/pregnancy under Title VII.

        44.     The conduct of Defendant and its agents and employees, proximately, directly,

and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future

pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss

of enjoyment of life, and other non-pecuniary losses.

        45.     The conduct of Defendant was so willful and wanton, and in such reckless disregard

of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages against

Defendants, to deter it, and others, from such conduct in the future.

        46.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

pursuant to 42 U.S.C. § 2000e-5(k).


                                        COUNT II
                                  VIOLATIONS OF THE ADA

        47.     Plaintiff re-alleges and readopts the allegations contained in paragraphs 1-40 as if

fully set forth herein.

        48.     Plaintiff is a qualified individual under 42 U.S.C. § 12111(8) in that she has a

pregnancy related disability and/or Defendant perceives her to have a disability, she has the

requisite education and skills to perform and can perform the essential functions of her position,

and either held or desired to hold a position with Defendant.

        49.     Defendant is an “employer” within the meaning of the ADA.

        50.     Plaintiff was a qualified employee.

        51.     Plaintiff engaged in protected activity under the ADA.




                                                   8
 Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 9 of 16 PageID 9



          52.   Defendant targeted plaintiff and treated her differently and worse than other

employees after she disclosed her pregnancy related disability and requested a reasonable

accommodation.

          53.   Additionally, Defendant terminated Plaintiff after she disclosed her pregnancy

related disability and after she requested two reasonable accommodations.

          54.   Defendant terminated Plaintiff, in whole or in part, because of her pregnancy

related disability and request for reasonable accommodation.

          55.   Defendant wrongfully terminated, discriminated against, harassed, failed to

accommodate, and made Plaintiff endure a hostile work environment on the basis of her

disabilities, real or perceived, in violation of the ADA and 42 U.S.C. § 12112.

          56.   Plaintiff has been damaged by Defendant’s violation of the ADA and suffered

damages, which include past and future wages and benefits, loss of professional opportunities,

loss of reputation, loss of savings and benefits, emotional distress, mental pain and anguish,

humiliation, inconvenience, loss of enjoyment of life, other non-pecuniary losses and caused

irreparable harm for which there is no adequate remedy at law.

          57.   The conduct of Defendant and its agents and employees proximately, directly,

and foreseeably, injured Plaintiff, including but not limited to, emotional pain and suffering,

humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary

losses.

          58.   The conduct of Defendant was so willful and wanton and in such reckless

disregard of the statutory rights of Plaintiff so as to entitle her to an award of punitive damages

against Defendant, to deter it, and others, from such conduct in the future.




                                                 9
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 10 of 16 PageID 10



        59.     Plaintiff is entitled to any and all relief permitted under the ADA, 42 U.S.C. §

12117(a), including equitable relief.

                              COUNT III
       RETALIATION, INTERFERENCE, COERCION AND/OR INTIMIDATION
          OF PLAINTIFF FOR EXERCISING RIGHTS UNDER THE ADA

        60.     Plaintiff re-alleges and readopts the allegations contained in paragraphs 1-40 as if

fully set forth herein.

        61.     Title I of the ADA, 42 U.S.C. § 12111 requires that Defendant provide reasonable

accommodations to otherwise qualified employees, such as Plaintiff, with pregnancy related

disabilities.

        62.     During the time Plaintiff was employed by Defendant, Plaintiff engaged in

protected activity under the ADA.

        63.     Plaintiff also opposed acts and practices made unlawful by the ADA including,

but not limited to, failing to accommodate Plaintiff’s disability, and/or subjecting Plaintiff to

harassment, and/or discrimination on the basis of her pregnancy related disability.

        64.     Defendant retaliated and discriminated against Plaintiff for engaging in said

protected activity.

        65.     During the time Plaintiff was employed by Defendant, she exercised and /or

enjoyed rights granted and/or protected by the ADA, including, but not limited to, requesting and

making use of reasonable accommodations for her pregnancy related disability.

        66.     Defendant coerced, intimidated, and/or threatened Plaintiff on account of her

having exercised and/or enjoyed rights granted and/or protected by the ADA.

        67.     Defendant interfered with Plaintiff in the exercise and/or enjoyment of rights

granted and/or protected by the ADA.



                                                 10
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 11 of 16 PageID 11



          68.   Defendant terminated Plaintiff’s employment after she exercised a right afforded

under the ADA.

          69.   Defendant received Plaintiff’s two requests for a reasonable accommodation, and

terminated Plaintiff shortly thereafter.

          70.   Under the ADA, the Defendant was legally obligated to refrain from retaliating

against Plaintiff because of her requests for a reasonable accommodation in connection with her

pregnancy related disability.

          71.   Under the ADA, Defendant was legally obligated to refrain from retaliating

against Plaintiff because of her objection to illegal discrimination based on her disability.

          72.   Notwithstanding this obligation under the ADA, and in willful violation thereof,

Defendant retaliated against Plaintiff because she disclosed her disability and requested two

reasonable accommodations, a parking space closer to the entrance of the building and a

temporary later start to her shift due to her morning sickness.

          73.   As a direct and proximate result of Defendant’s retaliation, interference, coercion

and/or intimidation in violation of the ADA, Plaintiff has suffered damages, which include past

and future wages and benefits, loss of professional opportunities, loss of reputation, loss of

savings and benefits, emotional distress, mental pain and anguish, humiliation, inconvenience,

loss of enjoyment of life, other non-pecuniary losses and caused irreparable harm for which there

is no adequate remedy at law.

          74.   The conduct of Defendant and its agents and employees proximately, directly, and

foreseeably, injured Plaintiff, including but not limited to, emotional pain and suffering,

humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary

losses.



                                                 11
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 12 of 16 PageID 12



        75.     The conduct of Defendant was so willful and wanton and in such reckless

disregard of the statutory rights of Plaintiff so as to entitle her to an award of punitive damages

against Defendant, to deter it, and others, from such conduct in the future.

        76.     Plaintiff is entitled to any and all relief permitted under the ADA, 42 U.S.C. §

12117(a), including equitable relief.

                              COUNT IV
       RETALIATION, INTERFERENCE, COERCION AND/OR INTIMIDATION
          OF PLAINTIFF FOR EXERCISING RIGHTS UNDER TITLE VII
          AS AMENDED BY THE PREGNANCY DISCRIMINATION ACT

        77.     Plaintiff re-alleges and readopts the allegations contained in paragraphs 1-40 as if

fully set forth herein.

        78.     Title VII of the Civil Rights of 1964 (“Title VII”) forbids a covered employer to

“discriminate against any individual with respect to... terms, conditions, or privileges of

employment, because of such individual's ... sex.” 42 U.S.C. § 2000e-2(a)(1). The Pregnancy

Discrimination Act of 1978 (the “PDA”), amended Title VII to specifically prohibit sex

discrimination on the basis of pregnancy and requires that Defendant provide reasonable

accommodations to otherwise qualified employees, such as Plaintiff, with pregnancy related

disabilities.

        79.     During the time Plaintiff was employed by Defendant, Plaintiff engaged in

protected activity under the PDA.

        80.     Plaintiff also opposed acts and practices made unlawful by the PDA including,

but not limited to, failing to accommodate Plaintiff’s disability, and/or subjecting Plaintiff to

harassment, and/or discrimination on the basis of her pregnancy related disability.

        81.     Defendant retaliated and discriminated against Plaintiff for engaging in said

protected activity.


                                                 12
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 13 of 16 PageID 13



        82.    During the time Plaintiff was employed by Defendant, she exercised and /or

enjoyed rights granted and/or protected by the PDA, including, but not limited to, requesting and

making use of reasonable accommodations for her pregnancy related disability.

        83.    Defendant coerced, intimidated, and/or threatened Plaintiff on account of her

having exercised and/or enjoyed rights granted and/or protected by the PDA.

        84.    Defendant interfered with Plaintiff in the exercise and/or enjoyment of rights

granted and/or protected by the PDA.

        85.    Defendant terminated Plaintiff’s employment after she exercised a right afforded

under the PDA.

        86.    Defendant received Plaintiff’s two requests for a reasonable accommodation, and

terminated Plaintiff shortly thereafter.

        87.    Under the PDA, the Defendant was legally obligated to refrain from retaliating

against Plaintiff because of her requests for a reasonable accommodation in connection with her

pregnancy related disability.

        88.    Under the PDA, Defendant was legally obligated to refrain from retaliating

against Plaintiff because of her objection to illegal discrimination based on her pregnancy related

disability.

        89.    Notwithstanding this obligation under the PDA, and in willful violation thereof,

Defendant retaliated against Plaintiff because she disclosed her pregnancy related disability and

requested two reasonable accommodations, a parking space closer to the entrance of the building

and a temporary later start to her shift due to her morning sickness.

        90.    As a direct and proximate result of Defendant’s retaliation, interference, coercion

and/or intimidation in violation of the PDA, Plaintiff has suffered damages, which include past



                                                 13
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 14 of 16 PageID 14



and future wages and benefits, loss of professional opportunities, loss of reputation, loss of

savings and benefits, emotional distress, mental pain and anguish, humiliation, inconvenience,

loss of enjoyment of life, other non-pecuniary losses and caused irreparable harm for which there

is no adequate remedy at law.

          91.     The conduct of Defendant and its agents and employees proximately, directly,

and foreseeably, injured Plaintiff, including but not limited to, emotional pain and suffering,

humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary

losses.

          92.    The conduct of Defendant was so willful and wanton and in such reckless

disregard of the statutory rights of Plaintiff so as to entitle her to an award of punitive damages

against Defendant, to deter it, and others, from such conduct in the future.

          93.    Plaintiff is entitled to any and all relief permitted under the PDA 42 U.S.C. §

2000e, including equitable relief.

                                      COUNT V
                TITLE VII CLAIM FOR RACE AND COLOR DISCRIMINATION

          94.    Plaintiff re-alleges and readopts the allegations contained in paragraphs 1-40 as if

fully set forth herein.

          95.    The acts of Defendant, by and through its agents and employees, violated

Plaintiff’s rights against race and color discrimination/harassment under Title VII of the Civil

Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

          96.    The discrimination/harassment to which Plaintiff was subjected to was based on

her race and color.




                                                  14
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 15 of 16 PageID 15



       97.      After disclosing her pregnancy and requesting a reasonable temporary

accommodation for her pregnancy related medical condition, Ms. Flemmings was subjected to

additional scrutiny that other non-pregnant and non-black employees did not receive.

       98.      There was a campaign of harassment and discrimination whereby the Defendant

pulled calls of Ms. Flemmings and then subjected Ms. Flemmings to employee write-ups for

perceived infractions while other members of the call center (who were not black or pregnant)

who engaged in the same or similar behavior did not receive similar write-ups, treatment or

termination.

       99.      The conduct of Defendant and its agents and employees proximately, directly, and

foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future

pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss

of enjoyment of life, and other non-pecuniary losses.

       100.     The conduct of Defendant was so willful and wanton, and in such reckless

disregard of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages

against Defendant, to deter it, and others, from such conduct in the future.

       101.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

pursuant to 42 U.S.C. § 2000e-5(k).

       102.     Plaintiff has no plain, adequate or complete remedy at law for the actions

of Defendant, which have caused, and continue to cause, irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, KE’ANDRA S. FLEMMINGS, respectfully requests entry of:

             a. judgment in her favor and against Defendant for economic damages in whatever

                amount she is found to be entitled;



                                                 15
Case 6:20-cv-00186-PGB-GJK Document 1 Filed 02/04/20 Page 16 of 16 PageID 16



        b. judgment in her favor and against Defendant for compensatory damages in

            whatever amount she is found to be entitled;

        c. judgment in her favor and against Defendant for punitive damages in whatever

            amount she is found to be entitled;

        d. judgment in her favor and against Defendant for an award of interest, costs and

            reasonable attorneys and expert witness fees;

        e. judgment in her favor and against Defendant for other monetary damages,

            equitable relief, declaratory relief, and any and all further relief that this Court

            determines to be just and appropriate or available pursuant to statutes cited herein

            or otherwise.

                               DEMAND FOR JURY TRIAL

     Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury.

     Dated this 4th day of February 2020.

                                            Respectfully submitted,

                                            MORGAN & MORGAN, P.A.

                                            s/ Paul M. Botros
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                                            Trial Counsel for Plaintiff




                                               16
